       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Larod Nayquan Robinson
        v. Commonwealth of Virginia
        Record No. 0207-13-1
        Opinion rendered by Judge Alston on
         April 29, 2014
        **Delayed appeal awarded by Supreme Court of Virginia**

    2. Joquan Wayne Hawkins
        v. Commonwealth of Virginia
        Record No. 0908-14-2
        Opinion rendered by Senior Judge Haley on
         April 21, 2015

    3. Kevin Lamont Martin
        v. Commonwealth of Virginia
        Record No. 0719-14-1
        Opinion rendered by Judge McCullough on
        April 28, 2015
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. George Wesley Huguely, V
   v. Commonwealth of Virginia
   Record No. 1697-12-2
   Opinion rendered by Judge Beales
    on March 4, 2014
   Refused (140678)

2. Larod Nayquan Robinson
   v. Commonwealth of Virginia
   Record No. 0207-13-1
   Opinion rendered by Judge Alston
     on April 29, 2014
    Refused (141558)

3. Jonathan Nathaniel Ramsey
    v. Commonwealth of Virginia
   Record No. 2023-12-4
    Opinion rendered by Senior Judge Annunziata
     on May 13, 2014
    Refused (140934)

4. Joseph Altiro Turner
    v. Commonwealth of Virginia
   Record No. 0352-13-1
    Opinion rendered by Chief Judge Huff
     on May 20, 2014
    Refused (140956)

5. James Albert Harris, III
    v. Commonwealth of Virginia
   Record No. 0558-13-1
    Opinion rendered by Judge Beales
     on June 24, 2014
    Dismissed pursuant to Rule 5:17 (c)(1)(iii)

6. James C. Howard, Jr.
    v. Commonwealth of Virginia
   Record No. 0820-13-1
    Opinion rendered by Senior Judge Bumgardner
     on August 5, 2014
    Refused (141410)
7. Adedamola Oraide Adeniran
   v. Commonwealth of Virginia
   Record No. 0317-13-4
   Opinion rendered by Judge Frank
    on August 19, 2014
   Refused (141386)

8. Quindell M. Kirby
   v. Commonwealth of Virginia
   Record No. 2307-12-2
   Opinion rendered by Judge Alston
    on September 2, 2014
   Refused (141442)

9. Michael Alonzo Robinson, Jr.
   v. Commonwealth of Virginia
   Record No. 0097-13-2
   Opinion rendered by Judge Alston
    on September 16, 2014
   Refused (141489)

10. Prince Adjei
   v. Commonwealth of Virginia
   Record No. 1380-13-2
   Opinion rendered by Judge Decker
     on September 23, 2014
    Refused (141613)
